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EXHIBIT L
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Brenner, Wendy

From: Brenner, Wendy

Sent: Thursday, December 09, 2010 9:26 AM

To: ‘Anna Levine’

Subject: RE: Enyart: Proposal for Third Preliminary Injunction
Hi Anna —

| will call you later today to discuss. |am sure, however, that these terms will not be acceptable to NCBE. NCBE is not
willing to permit Ms. Enyart to use her own computer for the exam for a variety of reasons.

it sounds like Dan tried to convey our position on the stipulated injunction, but that the terms might not have been
communicated precisely. To be clear, NCBE is willing to stipulate to an injunction for the February bar, provided:

e The injunction requirements are the same as the second preliminary injunction.

e Ms. Enyart will not take the position that this stipulation moots the appeal.

e The injunction will be contingent on the fact that no ruling is received from the Ninth Circuit prior to the test
date. If the Ninth Circuit rules before the February bar date, then the stipulated injunction goes away.

Wendy Brenner

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3175 Hanover Street

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Direct: (650) 843-5371 « Fax: (650) 849-7400

From: Anna Levine [mailto:alevine@dralegal.orq]

Sent: Wednesday, December 08, 2010 4:20 PM

To: Brenner, Wendy

Subject: Enyart: Proposal for Third Preliminary Injunction

Dear Wendy,

Thank you for your message this afternoon. As | previously raised at the hearing on NCBE's motion for continuance last
Friday, and discussed afterwards with Greg, Stephanie would like this third preliminary injunction to address technological
problems that arose at the July and August 2010 test administrations. Attached is a proposal aimed at addressing those

problems.

| understand from Dan Goldstein that NCBE, in turn, would like any stipulated preliminary injunction to include (1) an
agreement that the stipulated injunction will not be used as evidence of their liability and (2) a provision that their
agreement is void if the Ninth Circuit issues a decision before the February test administration.

To address (1), | have inserted a paragraph at the end of the attached document, borrowing from language that we
included, at NCBE's request, in the cover letter filed with the stipulated terms for the second preliminary injunction order.
We would be glad to hear your suggestions regarding (2).

| will be available by telephone all day tomorrow, and look forward to talking with you about this.
Sincerely,

Anna
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